                   UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                           NORTHERN DIVISION

In the Matter of:                                }
PRIMARY PROVIDERS OF                             }   CASE NO. 18-83207-CRJ-11
ALABAMA, INC.                                    }
                                                 }   CHAPTER 11
Debtor(s).                                       }


                  ORDER CONTINUING CONFIRMATION HEARING

       This case came before the Court on August 5, 2019 for hearing on Confirmation and on

the Objection to Confirmation filed by ServisFirst Bank.        Present during the hearing were

Tazewell Taylor Shepard IV, Esq., counsel for the Debtor; Matthew Hancock, Esq., counsel for

ServisFirst Bank; and Richard Blythe, Esq., counsel for the Bankruptcy Administrator.

       Prior to the hearing, the Debtor filed a Second Amended Chapter 11 Plan of

Reorganization, ECF No. 206, addressing the pending Objection to Confirmation.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

   1. The Confirmation Hearing is hereby continued to September 4, 2019 at 2:30 p.m. before

       the Honorable Clifton R. Jessup, Jr. at the United States Bankruptcy Court, 400 Well Street,

       Decatur, AL 35601.

   2. Monday, August 26, 2019 by 5:00 p.m., CDT is fixed as the deadline by which the holders

       of claims and interests against the Debtor must file ballots accepting or rejecting the Plan.

   3. Monday, August 26, 2019 by 5:00 p.m., CDT is fixed as the last day by which creditors

       and parties in interest must file any objections to confirmation of the Plan.




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  4. The Debtor must tabulate all acceptances and rejections of the Plan and file a Ballot

      Summary with the Court on or before Thursday, August 29, 2019 by 12:00 p.m., Noon,

      CDT.

  5. The Debtor must file a Memorandum in Support of Confirmation explaining pursuant to

      11 U.S.C. § 1129 how the Plan of Reorganization satisfies the requirements for

      confirmation, including evidence of feasibility on or before Thursday, August 29, 2019

      by 12:00 p.m., Noon, CDT.


  Dated this the 6th day of August, 2019.

                                                /s/ Clifton R. Jessup, Jr.
                                                Clifton R. Jessup, Jr.
                                                United States Bankruptcy Judge




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